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NOT FOR PUBLICATION

UNITED STATES DISTRICT COURT

DISTRICT OF NEW JERSEY
KAREM TADROS,
Petitioner,
No. 25cv4108 (EP)
v.
MEMORANDUM AND ORDER TO
KRISTI NOEM, et al., SHOW CAUSE
Respondents
PADIN, District Judge.

This matter comes before the Court on Petitioner Karem Tadros’s Petition for Writ of
Habeas Corpus under 28 U.S.C. § 2241, D.E. 1 (“Petition”) and several exhibits thereto where he
asserts six causes of action that challenge his immigration detention and the Government’s failure
to identify a lawful path to remove him from the United States following his long-standing deferral
of removal to Egypt under the Convention Against Torture! (“CAT”). D.E. 1-1-1-7. Respondents
oppose the Petition. D.E. 7 (“Answer”). In his Reply Memorandum in Support of Petition for
Writ of Habeas Corpus, Tadros voluntarily dismisses without prejudice his claims related to
unlawful removal (the Second, Third and Fourth Causes of Action in the Petition). D.E. 8 (“Reply
Brief”).

Having reviewed the Petition, Answer, and Reply Brief, along with their supporting
documents, the Court will schedule a hearing where Respondents shall SHOW CAUSE why the
Court should not grant the Petition and order Tadros released under appropriate conditions of

supervised release.

'§C.ER. § 1208.17(a) Deferral of removal under the Convention Against Torture.
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L BACKGROUND

Tadros is a native and citizen of Egypt who was admitted to the United States on or about
March 17, 1989, and adjusted his status to a derivative asylee on September 11, 1998. D.E. 7-1,
Answer, Declaration of Alexander Cabezas” § 3 (“‘Cabezas Decl.”) On August 18, 2006, Tadros
was convicted of the offense of manufacturing, distributing, and dispensing a controlled substance,
oxycodone, in violation of N.J. Stat. Ann. §§ 2C:35-5A(1) and 5B(5). Jd. 4. He was taken into
ICE custody on March 20, 2008. Id. 95. In December 2008, an immigration judge ordered Tadros
removed but also granted him deferral of removal to Egypt under CAT. Jd 46. The Board of
Immigration Appeals (“BIA”) affirmed that decision on April 7, 2009, making Tadros’s removal
order final. Id. § 7. Two days later, on April 9, 2009, Tadros was released from ICE custody under
an order of supervision. Id.

Tadros remained in compliance with his supervision conditions. Petition § 21.°
Nonetheless, on May 7, 2025, ICE took Tadros into custody and detained him in Elizabeth Contract
Detention Facility. Id. 95. Tadros was then served with Form I-229(a) (Warning for Failure to
Depart) and “Instruction Sheet to Detainee Regarding Requirement to Assist in Removal.” Jd. J

9, 10. He was also served with Form I-200 (Warrant for Arrest of Alien). Jd. Tadros refused to

? Alexander Cabezas is “a Supervisory Detention and Deportation Officer (“SDDO”) with the U.S.
Department of Homeland Security (“DHS”), U.S. Immigration and Customs Enforcement
(“ICE”), Enforcement and Removal Operations, Newark Field Office [whose] duties as SDDO
include oversight of detention operations at the Elizabeth Contract Detention Facility in Elizabeth,
New Jersey.” Cabezas Decl. § 1 (emphasis added). Based on this representation, the Court will
assume Cabezas is Tadros’s immediate custodian, with the power to produce Tadros if a petition
for writ of habeas corpus issues. “For cases arising under § 2241, a district court evaluates its
jurisdiction at least in part based on a proper application of the immediate custodian rule.” Anariba
v. Dir. Hudson Cnty. Corr. Ctr, 17 F.4th 434, 445 (3d Cir. 2021). The logic of [the immediate
custodian rule] rests in an understanding that the warden . . . has day-to-day control over the
prisoner and who can produce the actual body.” Jd. at 444 (cleaned up).

3 Tadros submitted a declaration, signed under penalty of perjury, in support of his Petition. D.E.
3-1, Declaration of Karem Tadros.
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sign all forms. Cabezas Decl., Ex. A-D. He remains in ICE custody at the Elizabeth Detention
Facility in New Jersey, four weeks after his arrest. Reply Brief at 5. Based on a May 9, 2025 news
report of detained migrants waiting for legal intervention while on a bus destined for a military
plane scheduled to remove them to Libya, Tadros fears his immediate removal to a third country
without due process. Petition, Ex. F. According to Respondents “[b]ased on Petitioner’s final
removal order, ICE has been making efforts to facilitate Petitioner’s removal to a country other
than Egypt. Petitioner will be provided notification as required by the preliminary injunction
currently in effect in D.V-D. v. U.S. Department of Homeland Security” No. 25-10676-BEM, 2025
WL 1142968, at *24 (D. Mass. Apr. 18, 2025), opinion clarified, No. CV 25-10676-BEM, 2025
WL 1323697 (D. Mass. May 7, 2025), and opinion clarified, No. CV 25-10676-BEM, 2025 WL
1453640 (D. Mass. May 21, 2025), reconsideration denied sub nom. D.V.D v. U.S. Dept of
Homeland Sec., No. CV 25-10676-BEM, 2025 WL 1495517 (D. Mass. May 26, 2025).* Jd. 4 11.
Tadros now presses his first and fifth causes of action and seeks release from detention
pursuant to 28 U.S.C. § 2241. Petition ff] 27-29, 9 40-41. He asserts his “90-day statutory
removal period and six-month presumptively reasonable period for continued removal efforts have
long passed, and there is no significant likelihood of [his] removal in the reasonably foreseeable
future” rendering his continued detention impermissible under 8 U.S.C. § 1231(a). Jd. 79 41-42.
Respondents oppose relief on Petitioner’s first and fifth causes of action based on: (1) lack
of jurisdiction pursuant to 8 U.S.C. § 1252(b)(9), (g); (2) the 90-day removal period may be tolled
under 8 U.S.C. § 1231(a)(1)(C) if the alien refuses in good faith to make timely application for

travel or other documents necessary for removal; and because (3) Tadros’s detention for less than

4 An appeal has been filed before the U.S. Supreme Court. Dep t of Homeland Sec., et al.,
Applicants v. D.V.D., et al., 24A1153.
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six months pursuant to a final order of removal is lawful. Answer at 9-18. In his Reply Brief,
Tadros asserts that Respondents, at no time before his arrest on May 7, 2005, asked him to take
any specific steps in support of his removal. Reply Brief § 4. After his arrest, he was not served
with a “Notice of Failure to Comply” pursuant to 8 C.F.R. § 241.4(g)(5)(ii), nor has he been
interviewed pursuant to 8 C.F.R. § 241.4(1)(1) (notification of violation of supervised release). Jd.
45. Tadros asserts that the sum total of evidence provided by Respondents in support of his
removal within a reasonable time is that “ICE has been making efforts to facilitate Petitioner’s
removal to a country other than Egypt.” Jd. ¥ 8.

Il. LEGAL FRAMEWORK

An individual who was granted deferral of removal cannot be removed to the country from
which their removal has been deferred, 8 C.F.R. § 1208.17(a), unless such deferral is subsequently
terminated by means of further legal proceedings, 8 C.F.R. § 1208.17(d). Such individual may be
removed to any third country, but only if the government of such country “will accept the alien
into that country[.]” 8 U.S.C. § 1231(b)(2)(E)(vii). Before such removal can take place, the
government must provide the individual with notice and an opportunity to apply for protection as
to that other country as well. D.V.D., 2025 WL 1142968, at *24.

When an individual is ordered removed, 8 U.S.C. §1231(a) permits the government to
detain them during the “removal period” which is defined as the 90-day period during which “the
Attorney General shall remove the alien from the United States.” 8 U.S.C. §1231(a)(1)(A). The
removal period begins on the latest of three dates: (1)“[t]he date the order of removal becomes
administratively final;” (2) if the removal order is judicially reviewed and the court orders a stay
of removal, the date of the court’s final order; and (3) “if the alien is detained or confined (except

under an immigration context) the date the alien is released from detention or confinement.” 8
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U.S.C. § 1231(a)(1)(B)(-iii). The 90-day removal period shall be extended, and the alien remain
under detention only “if the alien fails or refuses to make timely application in good faith for travel
or other documents necessary to the alien’s departure or conspires or acts to prevent the alien’s
removal subject to an order of removal.” 8 U.S.C. § 1231(a)(1)(C).
ll. ANALYSIS

Jurisdiction exists under 28 U.S.C. § 2241 “for statutory and constitutional challenges to
post-removal-period detention.” Zadvydas v. Davis, 533 U.S. 678, 688 (2001). In Zadvydas, the
Government argued the post-removal detention statute, 8 U.S.C. § 1231(a)(6),° set no limit on the
length of detention beyond the normal removal period. Jd. at 689. The Court, “interpreting the
statute to avoid a serious constitutional threat . . . conclude[d] that, once removal is no longer
reasonably foreseeable, continued detention is no longer authorized by statute.” Jd. at 699. The
Supreme Court instructed habeas courts how to analyze such claims. Jd. First, “the habeas court
must ask whether the detention in question exceeds a period reasonably necessary to secure
removal.” Jd. Reasonableness depends primarily on the statute’s basic purpose of “assuring the
alien’s presence at the moment of removal.” Jd. Accordingly, “if removal is not reasonably
foreseeable, the court should hold continued detention unreasonable and no longer authorized by
statute.” Id. at 699-700. When a habeas court grants relief “the alien’s release may and should be

conditioned on any of the various forms of supervised release that are appropriate in the

>8 U.S.C. § 1231(a)(6) Inadmissible or criminal aliens provides:

An alien ordered removed who is inadmissible under section 1182 of this title,
removable under section 1227(a)(1)(C), 1227(a)(2), or 1227(a)(4) of this title or
who has been determined by the Attorney General to be a risk to the community or
unlikely to comply with the order of removal, may be detained beyond the removal
period and, if released, shall be subject to the terms of supervision in paragraph (3).

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circumstances.” Jd at 700. The Zadvydas Court found it “necessary to recognize some
presumptively reasonable period of detention” and decided upon six months. /d. at 701.

The Court provided further instruction to habeas courts:

[after this 6—-month period, once the alien provides good reason to
believe that there is no significant likelihood of removal in the
reasonably foreseeable future, the Government must respond with
evidence sufficient to rebut that showing. And for detention to
remain reasonable, as the period of prior postremoval confinement
grows, what counts as the “reasonably foreseeable future”
conversely would have to shrink. This 6—-month presumption, of
course, does not mean that every alien not removed must be released
after six months. To the contrary, an alien may be held in
confinement until it has been determined that there is no significant
likelihood of removal in the reasonably foreseeable future.
Id.

Respondents’ argument that Tadros’s habeas claim under Zadvydas is premature because
he has not been detained for six months ignores that the facts in this case are distinguishable from
Zadvydas. In Zadvydas, the petitioners remained in immigration detention beyond the 90-day
removal period. Jd. at 684-86. Tadros’s original removal order became administratively final on
April 7, 2009, but his removal was deferred under CAT, and he was released from ICE detention
under supervision two days later. Cabezas Decl. 9] 7, 8. Respondents have not identified any
change in circumstances that caused them to place Tadros in custody in May 2025, while they
pursue his removal to a third country.

Respondents contend Tadros is not entitled to habeas relief because his presumptively
reasonable six-month detention period pursuant to Zadvydas began when he was detained on May
7, 2025. Answer at 21. To the contrary, Tadros argues his final order of removal triggered the six-

month detention period under Zadvydas, and thus lapsed long ago. Petition § 41. Tadros submits

that the burden has shifted to the Government to show that removal is now likely in the reasonably
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foreseeable future, and the Government has not met its burden. Reply Brief at 10-12. Additionally,
Tadros contends 8 U.S.C. § 1231(a)(1)(C) is not implicated because he did not fail to cooperate
with his removal. Jd. at 12-15.

Tadros has the better argument under Zadvydas. The 90-day removal period under 8 U.S.C.
§ 1231(a)(1)(B) was triggered under the circumstances present here by the BIA’s affirmance of
the immigration judge’s order of removal and deferral of removal under CAT on April 7, 2009.
Tadros was released two days later. Cabezas Decl. § 8. Tadros’s release suggests he was
determined not to present a flight risk, and that the Government was unlikely to find a third country
to accept him in the reasonably foreseeable future. Furthermore, Tadros has demonstrated there is
no significant likelihood of his removal in the reasonably foreseeable future because fifteen years
have gone by without the Government securing a third country for his removal. Respondents’ sole
statement that “ICE has been making efforts to facilitate Petitioner’s removal to a country other
than Egypt” is insufficient to rebut the presumption established by Tadros. Cabezas Decl. § 11.
Additionally, Respondents have not established Tadros was taken into custody or remains in
custody under 8 U.S.C. § 1231(a)(1)(C) for failing or refusing “to make timely application in good
faith for travel or other documents necessary to the alien’s departure.” Respondents have not
identified any country that has been willing to accept Tadros. Therefore, there are no travel or
other documents to prepare for his departure. Thus, the Court will schedule a hearing and order
Respondents® to appear and show cause why the petition for writ of habeas corpus should not be
granted. Accordingly,

IT IS, on this 13th day of June 2025,

® One Respondent may appear on behalf of the Respondents named in the Petition.

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ORDERED that the parties shall appear at a hearing on June 17, 2025 at 8:00 AM Martin
Luther King Building & U.S. Courthouse, 50 Walnut Street, Newark, NJ 07102, Courtroom 4C,
and SHOW CAUSE why this Court should not grant Tadros’s petition for writ of habeas corpus
under 28 U.S.C. § 2241; and it is further

ORDERED that a Petition for Writ of Habeas Corpus ad testificandum shall issue to obtain
Petitioner’s appearance and testimony at the hearing; and it is further

ORDERED that the parties shall submit exhibit and witness lists on or before June 16,
2025, 10 AM; and it is further

ORDERED that, if the Court determines it necessary, the Court will schedule post-hearing

Sod Tab

Evelyn Padin, U.S.D.J.

briefing.

